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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION

                                          CLERK’S MINUTES

 CASE NO.:      8:23-cr-388-TPB-CPT                             DATE:     February 27, 2024

 HONORABLE THOMAS P. BARBER

                                                                GOVERNMENT COUNSEL
 UNITED STATES OF AMERICA                                       Carlton Gammons, AUSA

 v.

                                                                DEFENDANT COUNSEL
 MATTHEW FREDERIC BERGWALL (1)                                  Kevin Darken, ret.

 COURT REPORTER: Rebekah Lockwood                               DEPUTY              Sonya Cohn
                                                                CLERK:
                                                                COURTROOM:          14A
 TIME: 10:01 – 10:02 a.m.
 TOTAL: 1 minute

PROCEEDINGS:          STATUS CONFERENCE

Case will resolve prior to trial.

Defendant’s motion to continue trial – GRANTED. The Court finds that the ends of justice are
served by such a continuance and outweigh the best interest of the public and the defendant in
a speedy trial and the time is deemed excludable.

Next Status Conference:                     May 13, 2024, at 9:30 a.m. Notice to follow.
